        Case 1:22-cv-03371-ELR Document 56 Filed 02/21/23 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 WELLEKSON GONCALVES                      *
 SILVA,                                   *
                                          *
              Petitioner,                 *
                                          *
       v.                                 *            1:22-CV-03371-ELR
                                          *
 ADRIENE FERREIRA DOS                     *
 SANTOS,                                  *
                                          *
              Respondent.                 *
                                          *
                                     _________

                                     ORDER
                                     _________

      Upon review and consideration of the testimony presented during and the

evidence admitted at the February 17, 2023 evidentiary hearing and for the reasons

discussed at that hearing, the Court GRANTS the relief requested in Petitioner

Wellekson Goncalves Silva’s “Complaint and Petition for Return of Minor Child

Under the International Child Abduction Remedies Act.” [Doc. 1]. Accordingly, the

Court DIRECTS the Parties to, within fourteen (14) days of this order, confer and

advise the Court of the timeline for and logistics regarding the return of the Parties’

Child, Y.F.G., to Petitioner in Brazil and any other matters the Court needs to address

to resolve this matter.
 Case 1:22-cv-03371-ELR Document 56 Filed 02/21/23 Page 2 of 2




SO ORDERED, this 21st day of February, 2023.




                                   ______________________
                                   Eleanor L. Ross
                                   United States District Judge
                                   Northern District of Georgia




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